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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                      )
CHRISTELA SAINT JEAN                                  )
                                                      )
       Plaintiff,                                     )
                                                      )
v.                                                    )
                                                      )   Civil Action No. 1:16-cv-00520-RJL
HILTON WORLDWIDE, INC.                                )
                                                      )
       Defendant.                                     )
                                                      )

               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
        IT IS STIPULATED by and between the parties named in this action through their

respective counsel that the above-captioned matter be and is hereby dismissed with prejudice

pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure. The parties shall bear

their own respective costs and attorneys’ fees.

       Entered into this ___ day of October, 2019.

                                                      __________________________________
                                                      Judge, U.S. District Court
                                                      for the District of Columbia




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Dated: October 15, 2019             SEEN AND AGREED:


                              By:   /s/ A.J. Dhali*
                                    A.J. Dhali (D.C. Bar No. 495909)
                                    Dhali, PLLC
                                    1828 L. Street, N.W., Suite 600
                                    Washington, D.C. 20036
                                    (202) 556-1285 (Telephone)
                                    (202) 351-0518 (Fax)
                                    ajdhali@dhalilaw.com

                                    Counsel for Plaintiff

                                    *signed by Matthew F. Nieman with
                                    permission of A.J. Dhali

                              By:   /s/ Matthew F. Nieman
                                    Matthew F. Nieman (D.C. Bar No. 985382)
                                    Meredith F. Bergeson (D.C. Bar No. 241423)
                                    Jackson Lewis P.C.
                                    10701 Parkridge Boulevard, Suite 300
                                    Reston, VA 20191
                                    (703) 483-8300 (Telephone)
                                    (703) 483-8301 (Fax)
                                    niemanm@jacksonlewis.com
                                    meredith.bergeson@jacksonlewis.com

                                    Counsel for Defendant




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                                CERTIFICATE OF SERVICE

       I hereby certify on October 15, 2019, a copy of the foregoing Joint Stipulation of Dismissal

was served and filed electronically with the Clerk of the Court using the CM/ECF, upon:

                 Arinderjut (AJ) Dhali
                 Dhali PLLC
                 1629 K Street, N.W.
                 Suite 300
                 Washington, D.C. 20001
                 ajdhali@dhalilaw.com



                                     By:     /s/ Matthew F. Nieman
                                             Matthew F. Nieman (D.C. Bar No. 985382)
                                             Meredith F. Bergeson (D.C. Bar No. 241423)
                                             Jackson Lewis P.C.
                                             10701 Parkridge Boulevard, Suite 300
                                             Reston, VA 20191
                                             (703) 483-8300 (Telephone)
                                             (703) 483-8301 (Fax)
                                             niemanm@jacksonlewis.com
                                             meredith.bergeson@jacksonlewis.com

                                             Counsel for Defendant




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